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   Joel E. Elkins (SBN 256020)
 1 jelkins@weisslawllp.com
   WEISSLAW LLP
 2 611 Wilshire Blvd., Suite 808
   Los Angeles, CA 90017
 3 Telephone: 310/208-2800
   Facsimile: 310/209-2348
 4
   Attorneys for Plaintiff
 5

 6

 7

 8                                       UNITED STATES DISTRICT COURT
 9
                                   NORTHERN DISTRICT OF CALIFORNIA
10

11    BRIAN JONES,                                      )   Case No.
                                                        )
12                          Plaintiff,                  )
                                                        )
13                                                      )   COMPLAINT FOR
                      vs.                               )   VIOLATIONS OF THE
14                                                      )   FEDERAL SECURITIES LAWS
      COLUMBIA PROPERTY TRUST, INC.,                    )
15    CARMEN M. BOWSER, JOHN L. DIXON,                  )   JURY TRIAL DEMANDED
      DAVID B. HENRY, MURRAY J. MCCABE,                 )
16    E. NELSON MILLS, CONSTANCE B.                     )
                                                        )
      MOORE, MICHAEL S. ROBB, THOMAS G.                 )
17
      WATTLES, and FRANCIS X.                           )
18    WENTWORTH, JR.,                                   )
                                                        )
19                            Defendants.               )
                                                        )
20

21

22          Plaintiff Brian Jones (“Plaintiff”), on behalf of himself and all others similarly situated, upon
23 information and belief, including an examination and inquiry conducted by and through his counsel,

24
     except as to those allegations pertaining to Plaintiff, which are alleged upon personal belief, alleges
25
     the following for his Complaint:
26

27

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                                        NATURE OF THE ACTION
 1

 2          1.      Plaintiff brings this action against Columbia Property Trust, Inc. (“Columbia” or the

 3 “Company”) and the members of Columbia’s Board of Directors (the “Board” or the “Individual

 4 Defendants”) for their violations of Sections 14(a) and 20(a) of the Securities Exchange Act of 1934

 5
     (the “Exchange Act”), 15 U.S.C. §§ 78n(a), 78t(a), and U.S. Securities and Exchange Commission
 6
     (“SEC”) Rule 14a-9, 17 C.F.R. § 240.14a-9, arising out of their attempt to sell the Company to
 7
     investment funds managed by Pacific Investment Management Company LLC (“PIMCO”) through
 8
     their affiliates Panther Merger Parent, Inc. (“Parent”) and Panther Merger Sub, LLC (“Merger Sub”)
 9

10 (the “Proposed Transaction”).

11          2.      On September 7, 2021, Columbia announced that it had entered into an Agreement
12   and Plan of Merger (the “Merger Agreement”) pursuant to which, each Columbia stockholder will
13
     receive $19.30 in cash for each share of Columbia common stock they own.
14
            3.      On October 6, 2021, Columbia filed a Schedule 14A Definitive Proxy Statement (the
15
     “Proxy”), which omits or misrepresents material information concerning, inter alia, the Company’s
16

17 financial projections and the financial analyses that support the fairness opinion provided by the

18 Company’s financial advisor Morgan Stanley & Co. LLC (“Morgan Stanley”). The failure to

19 adequately disclose such material information renders the Proxy false and misleading.

20          4.      The stockholder vote to approve the Proposed Transaction is forthcoming. Under the
21
     Merger Agreement, following a successful stockholder vote, the Proposed Transaction will be
22
     consummated. For these reasons and as set forth in detail herein, Plaintiff seeks to enjoin defendants
23
     from conducting the stockholder vote on the Proposed Transaction unless and until the material
24

25 information discussed below is disclosed to the holders of the Company’s common stock, or, in the

26 event the Proposed Transaction is consummated, to recover damages resulting from the defendants’

27 violations of the Exchange Act.

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                                       JURISDICTION AND VENUE
 1

 2          5.      This Court has jurisdiction over the claims asserted herein for violations of Sections

 3 14(a) and 20(a) of the Exchange Act and Rule 14a-9 promulgated thereunder pursuant to Section 27

 4 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. §1331 (federal question jurisdiction).

 5
            6.      The Court has jurisdiction over defendants because each defendant is either a
 6
     corporation that conducts business in and maintains operations in this District, or is an individual who
 7
     has sufficient minimum contacts with this District so as to render the exercise of jurisdiction by this
 8
     Court permissible under traditional notions of fair play and substantial justice.
 9

10          7.      Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. §

11 78aa, as well as under 28 U.S.C. § 1391 because: (i) the Company owns and operates over 1,400,000

12 square feet across five properties in this District; (ii) the Company maintains executive offices in this

13
     District; and (iii) defendants have received substantial compensation in this District by doing business
14
     here and engaging in numerous activities that had an effect in this District.
15
                                                THE PARTIES
16

17          8.      Plaintiff is, and has been at all times relevant hereto, a continuous stockholder of

18 Columbia.

19          9.      Defendant Columbia is a Maryland corporation, with its principal executive offices
20 located at 315 Park Avenue South, Suite 500, New York, New York 10010 and executive offices

21
     located at 650 California Street, Suite 200, San Francisco, California 94108. Columbia’s common
22
     stock trades on the New York Stock Exchange under the ticker symbol “CXP.”
23
            10.     Defendant Carmen M. Bowser has served as a director of the Company since 2016.
24

25          11.     Defendant John L. Dixon has served as a director of the Company since 2008.

26          12.     Defendant David B. Henry has served as a director of the Company since 2016.

27          13.     Defendant Murray J. McCabe has served as a director of the Company since 2013.
28
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             14.   Defendant E. Nelson Mills has served as President of the Company since July 2010,
 1

 2 Chief Executive Officer (“CEO”) since February 2013, and a director since 2007.

 3           15.   Defendant Constance B. Moore has served as Chair of the Board since December 31,

 4 2020, and a director of the Company since 2017.

 5
             16.   Defendant Michael S. Robb has served as a director of the Company since 2015.
 6
             17.   Defendant Thomas G. Wattles has served as a director of the Company since 2013.
 7
             18.   Defendant Francis X. Wentworth, Jr. has served as a director of the Company since
 8
     2020.
 9

10           19.   Defendants identified in paragraphs 10-18 are referred to herein as the “Board” or the

11 “Individual Defendants.”

12           20.   Relevant non-party PIMCO is one of the world’s premier fixed income investment
13
     managers. With its launch in 1971 in Newport Beach, California, PIMCO introduced investors to a
14
     total return approach to fixed income investing. PIMCO invests globally across commercial and
15
     residential real estate equity and credit, performing and distressed corporate credit, and specialty
16

17 finance markets – actively managing investments across the capital structure.

18                                SUBSTANTIVE ALLEGATIONS
19
     Background of the Company and the Proposed Transaction
20
             21.   The Company operates as a real estate investment trust (“REIT”) for federal income
21
     tax purposes and owns and operates commercial real estate properties. Conducting business primarily
22

23 through Columbia Operating Partnership, L.P. (“Company OP”). Columbia is the general partner of

24 Company OP, owning 97.3%. Columbia owns, operates, and develops storied properties for

25 legendary companies in primary markets. The Company looks to acquire, develop, or redevelop

26
     strategic and premier office assets whose workplace environment appeals to quality tenants in target
27

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     markets. Columbia concentrates on office buildings that are competitive within the top tier of their
 1

 2 markets or that can be repositioned as such through value-add initiatives.

 3          22.     As of December 31, 2020, the Company owned 15 operating properties and four

 4 properties under development or redevelopment, of which 10 were wholly owned and nine were

 5
     owned through joint ventures, located primarily in New York, San Francisco, Washington, D.C., and
 6
     Boston. As of December 31, 2020, the operating properties contained a total of 6.2 million rentable
 7
     square feet and were approximately 95.6% leased. Columbia also provides asset and property
 8
     management services for 8.0 million square feet of office space located primarily in its core markets.
 9

10          23.     On September 7, 2021, Columbia issued a press release announcing the Proposed

11 Transaction. The press release states, in relevant part:

12          NEW YORK & NEWPORT BEACH, Calif -- Columbia Property Trust, Inc. (NYSE:
            CXP) today announced that it has entered into a definitive agreement to be acquired
13
            by funds managed by Pacific Investment Management Company LLC (collectively,
14          “PIMCO”), one of the world’s premier global investment management firms, for $3.9
            billion including Columbia’s proportionate share of consolidated and unconsolidated
15          debt. Under the terms of the agreement, which has been unanimously approved by
            Columbia’s Board of Directors, PIMCO will acquire all of the outstanding shares of
16          Columbia common stock for $19.30 per share in cash. This represents a premium of
17          approximately 27% over Columbia’s unaffected closing share price on Friday, March
            12, 2021. During this time period the high barrier office sector has traded down 5%.
18
            This transaction with PIMCO is the culmination of a comprehensive strategic review
19          process undertaken by Columbia’s Board of Directors which was publicly announced
            in the spring of this year. As part of this process, Columbia’s Board and advisors
20          invited nearly 90 potential counterparties to participate, including strategic acquirers,
21          private equity firms and other investment management firms.

22          Constance Moore, Chair of the Columbia Board of Directors, said, “The Board of
            Directors is pleased to have reached this definitive agreement with PIMCO. This
23          transaction provides Columbia shareholders with immediate and certain cash value at
            a significant premium to the Company’s public market valuation, and we are confident
24
            it represents the best outcome for all Columbia shareholders.”
25
            Nelson Mills, President and Chief Executive Officer of Columbia, said, “Today’s
26          announcement represents the result of a comprehensive strategic review process and
            demonstrates the value and stability of Columbia’s portfolio, the resiliency of our
27          platform, and the capabilities of our team.”
28
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            “We continue to believe that high-quality office buildings in major U.S. cities offer
 1          long-term value for our clients and Columbia has assembled a modernized, well-
 2          located portfolio of assets that we expect will perform well in the years ahead,” said
            John Murray, PIMCO Global Head of Private Commercial Real Estate.
 3
            Francois Trausch, PIMCO Managing Director and Chief Executive Officer of Allianz
 4          Real Estate, added, “This is an exciting transaction and a great example of the strength
            of relationships within PIMCO’s global real estate platform.”
 5

 6          The transaction is expected to close as early as year-end, subject to approval by
            Columbia’s shareholders and the satisfaction of other customary closing conditions.
 7          Upon completion of the transaction, Columbia’s common stock will no longer be listed
            on the New York Stock Exchange.
 8
            Columbia shareholders will be entitled to receive the previously announced third
 9
            quarter dividend of $0.21 per share payable on September 15, 2021. Thereafter,
10          Columbia will not pay additional quarterly dividends during the pendency of the
            transaction.
11
            Due to the pending acquisition, Columbia will not be holding a conference call for its
12          third quarter 2021 business results after it releases earnings information.
13
            Morgan Stanley & Co. LLC is serving as lead financial advisor to Columbia and
14          Wachtell, Lipton, Rosen & Katz is serving as legal advisor. Eastdil Secured LLC and
            J.P. Morgan are also acting as financial advisors to Columbia.
15
            Goldman Sachs & Co. LLC is serving as lead financial advisor to PIMCO and Latham
16          & Watkins LLP and Milbank LLP are serving as legal advisors. Deutsche Bank
17          Securities Inc. is also acting as a financial advisor to PIMCO. Cushman & Wakefield
            is acting as a real estate consultant to PIMCO.
18
     The Proxy Contains Material Misstatements or Omissions
19
            24.    On October 6, 2021, Columbia filed the materially misleading and incomplete Proxy
20

21 with the SEC. Designed to convince Columbia’s stockholders to vote in favor of the Proposed

22 Transaction, the Proxy is rendered misleading by the omission of critical information concerning the

23 Company’s financial projections and the financial analyses that support the fairness opinion provided

24
     by the Company’s financial advisor, Morgan Stanley.
25
   Material Omissions Concerning the Company’s Financial Projections and Morgan Stanley’s
26 Financial Analyses

27          25.    The Proxy omits material information regarding the Company’s financial projections.
28
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            26.     The Proxy states that:
 1

 2           In March 2021, our management team prepared certain forward-looking financial
            information for Columbia on a consolidated basis for 2021 through 2025, and this
 3          information was made available to our board of directors and to Morgan Stanley, as
            well as to representatives of participants in our strategic review process, including the
 4          PIMCO Funds, on a consolidated basis for 2021 through 2024. In June 2021, this
            information was updated to provide forward-looking financial information for
 5
            Columbia on a consolidated basis for 2026, in addition to 2021 through 2025 (we refer
 6          to such information for 2021 through 2026 as the “Columbia Projections”).

 7 Proxy at 38. The Proxy fails, however, to disclose the March projections or a quantification of the

 8 changes made to the March projections to arrive at the Columbia Projections.
 9
            27.     The Proxy also fails to disclose all line items underlying the calculation of: (i) Property
10
     Cash NOI; (ii) Adjusted EBITDA; (iii) Normalized FFO per Share; (iv) AFFO per Share; and (v)
11
     unlevered free cash flow.
12
            28.     The Proxy also omits material information regarding Morgan Stanley’s financial
13

14 analyses.

15          29.     The Proxy describes Morgan Stanley’s fairness opinion and the various valuation
16 analyses it performed in support of its opinion. However, the description of Morgan Stanley’s fairness

17
     opinion and analyses fails to include key inputs and assumptions underlying these analyses. Without
18
     this information, as described below, Columbia’s public stockholders are unable to fully understand
19
     these analyses and, thus, are unable to determine what weight, if any, to place on Morgan Stanley’s
20

21 fairness opinion in determining whether to vote in favor of the Proposed Transaction.

22          30.     With respect to Morgan Stanley’s Research Analyst Price Targets and NAV Targets

23 analysis, the Proxy fails to disclose: (i) the individual price targets observed; and (ii) the sources

24 thereof.

25
            31.     With respect to Morgan Stanley’s Comparable Public Companies Analysis, the Proxy
26
     fails to disclose the individual multiples and financial metrics for each of the comparable companies
27
     observed by Morgan Stanley in the analysis.
28
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            32.     With respect to Morgan Stanley’s Premiums Paid Analysis, the Proxy fails to disclose
 1

 2 the individual premiums for each of the transactions observed.

 3          33.     With respect to Morgan Stanley’s Discounted Cash Flow Analysis, the Proxy fails to

 4 disclose: (i) the forecasted net operating income of Columbia for the 12 months ending December 31,

 5
     2026; (ii) the range of terminal values for Columbia; (iii) the individual inputs and assumptions
 6
     underlying the discount rates ranging from 6.6% to 7.7%; (iv) Columbia’s outstanding debt, non-
 7
     controlling interests, and outstanding cash, all as provided by Company management; and (v) the
 8
     number of fully diluted shares of Company common stock used in the analysis.
 9

10          34.     With respect to Morgan Stanley’s Net Asset Value Analysis, the Proxy fails to disclose:

11 (i) Columbia management’s estimates of asset value for its operating real estate; (ii) Columbia

12 management’s estimates of asset value for its development in progress; (iii) the estimated value of

13
     Columbia’s cash, investment management and asset management platform, and other tangible assets;
14
     and (iv) the Company’s debt and other liabilities.
15
            35.     With respect to Morgan Stanley’s Private Buyer Analysis, the Proxy fails to disclose
16

17 net operating income from June 30, 2021, through December 31, 2025.

18          36.     The omission of this information renders certain portions of the Proxy materially

19 misleading, including, inter alia, the following sections of the Proxy: “Certain Unaudited Financial

20 Projections” and “Opinion of Our Financial Advisor.”

21
            37.     Accordingly, Plaintiff seeks injunctive and other equitable relief to prevent the
22
     irreparable injury that Company stockholders will continue to suffer absent judicial intervention.
23
                                            CLAIMS FOR RELIEF
24
                                                     COUNT I
25

26                 Claims Against All Defendants for Violations of Section 14(a) of the
                        Exchange Act and Rule 14a-9 Promulgated Thereunder
27
            38.     Plaintiff repeats all previous allegations as if set forth in full.
28
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            39.     During the relevant period, defendants disseminated the false and misleading Proxy
 1

 2 specified above, which failed to disclose material facts necessary to make the statements, in light of

 3 the circumstances under which they were made, not misleading in violation of Section 14(a) of the

 4 Exchange Act and SEC Rule 14a-9 promulgated thereunder.

 5
            40.     By virtue of their positions within the Company, the defendants were aware of this
 6
     information and of their duty to disclose this information in the Proxy. The Proxy was prepared,
 7
     reviewed, and/or disseminated by the defendants. It misrepresented and/or omitted material facts,
 8
     including material information about the Company’s financial projections and the financial analyses
 9

10 that support the fairness opinion provided by Morgan Stanley. The defendants were at least negligent

11 in filing the Proxy with these materially false and misleading statements.

12          41.     The omissions and false and misleading statements in the Proxy are material in that a
13
     reasonable stockholder would consider them important in deciding how to vote on the Proposed
14
     Transaction.
15
            42.     By reason of the foregoing, the defendants have violated Section 14(a) of the Exchange
16

17 Act and SEC Rule 14a-9(a) promulgated thereunder.

18          43.     Because of the false and misleading statements in the Proxy, Plaintiff is threatened

19 with irreparable harm, rendering money damages inadequate.                  Therefore, injunctive relief is
20 appropriate to ensure defendants’ misconduct is corrected.

21
                                                    COUNT II
22
                               Claims Against the Individual Defendants for
23                             Violations of Section 20(a) of the Exchange Act
24          44.     Plaintiff repeats all previous allegations as if set forth in full.
25          45.     The Individual Defendants acted as controlling persons of Columbia within the
26
     meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as
27
     officers and/or directors of Columbia, and participation in and/or awareness of the Company’s
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     operations and/or intimate knowledge of the false statements contained in the Proxy filed with the
 1

 2 SEC, they had the power to influence and control and did influence and control, directly or indirectly,

 3 the decision-making of the Company, including the content and dissemination of the various

 4 statements which Plaintiff contends are false and misleading.

 5
            46.     Each of the Individual Defendants was provided with or had unlimited access to copies
 6
     of the Proxy and other statements alleged by Plaintiff to be misleading prior to and/or shortly after
 7
     these statements were issued and had the ability to prevent the issuance of the statements or cause the
 8
     statements to be corrected.
 9

10          47.     In particular, each of the Individual Defendants had direct and supervisory

11 involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

12 the power to control or influence the particular transactions giving rise to the securities violations as

13
     alleged herein, and exercised the same. The Proxy at issue contains the unanimous recommendation
14
     of each of the Individual Defendants to approve the Proposed Transaction. They were, thus, directly
15
     involved in the making of the Proxy.
16

17          48.     In addition, as the Proxy sets forth at length, and as described herein, the Individual

18 Defendants were each involved in negotiating, reviewing, and approving the Proposed Transaction.

19 The Proxy purports to describe the various issues and information that they reviewed and

20 considered—descriptions the Company directors had input into.

21
            49.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a) of
22
     the Exchange Act.
23
            50.     As set forth above, the Individual Defendants had the ability to exercise control over
24

25 and did control a person or persons who have each violated Section 14(a) and SEC Rule 14a-9,

26 promulgated thereunder, by their acts and omissions as alleged herein. By virtue of their positions as

27 controlling persons, these defendants are liable pursuant to Section 20(a) of the Exchange Act. As a

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     direct and proximate result of defendants’ conduct, Columbia’s stockholders will be irreparably
 1

 2 harmed.

 3                                         PRAYER FOR RELIEF

 4          WHEREFORE, Plaintiff demands judgment and preliminary and permanent relief, including
 5
     injunctive relief, in his favor on behalf of Columbia, and against defendants, as follows:
 6
            A.      Preliminarily and permanently enjoining defendants and all persons acting in concert
 7
                    with them from proceeding with, consummating, or closing the Proposed Transaction
 8
                    and any vote on the Proposed Transaction;
 9

10          B.      In the event defendants consummate the Proposed Transaction, rescinding it and

11                  setting it aside or awarding rescissory damages to Plaintiff;
12          C.      Directing the Individual Defendants to disseminate a Proxy that does not contain any
13
                    untrue statements of material fact and that states all material facts required in it or
14
                    necessary to make the statements contained therein not misleading;
15
            D.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the Exchange Act,
16

17                  as well as SEC Rule 14a-9 promulgated thereunder;

18          E.      Awarding Plaintiff the costs of this action, including reasonable allowance for

19                  Plaintiff’s attorneys’ and experts’ fees; and
20          F.      Granting such other and further relief as this Court may deem just and proper.
21
                                               JURY DEMAND
22
            Plaintiff demands a trial by jury on all claims and issues so triable.
23

24

25

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     Dated: November 19, 2021                WEISSLAW LLP
 1
                                             Joel E. Elkins
 2
                                             By: /s/ Joel E. Elkins
 3
                                             Joel E. Elkins
 4                                           611 Wilshire Blvd., Suite 808
     OF COUNSEL:                             Los Angeles, CA 90017
 5                                           Telephone: 310/208-2800
 6   BRAGAR EAGEL & SQUIRE, P.C.             Facsimile: 310/209-2348
     Alexandra B. Raymond                            -and-
 7   810 Seventh Avenue, Suite 620           Richard A. Acocelli
     New York, NY 10019                      305 Broadway, 7th Floor
 8   Tel: (646) 860-9158                     New York, NY 10007
     Fax: (212) 214-0506                     Telephone: 212/682-3025
 9                                           Facsimile: 212/682-3010
     Email: raymond@bespc.com
10
     Attorneys for Plaintiff                 Attorneys for Plaintiff
11

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